Case 1:21-cv-02228-RM-STV Document 12 Filed 09/01/21 USDC Colorado Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

 Civil Action No. 21-cv-02228-RM

 DAN ROBERT, SSgt, U.S. Army,
 HOLLIE MULVIHILL, SSgt, USMC, and other similarly situated individuals,

        Plaintiffs,

 v.

 LLOYD AUSTIN, in his official capacity as Secretary of Defense, U.S. Department of Defense,
 XAVIER BACERRA, in his official capacity as Secretary of the U.S. Department of Health and
 Human Services, and
 JANET WOODCOCK, in her official capacity as Acting Commissioner of the U.S. Food &
 Drug Administration,

       Defendants.
 ______________________________________________________________________________

                                    ORDER
 ______________________________________________________________________________

        Before the Court is Plaintiffs’ Verified Motion for an Emergency Temporary Restraining

 Order (ECF No. 7). The Court denies the Motion for the reasons below.

 I.     LEGAL STANDARDS

        To obtain a temporary restraining order (“TRO”) or injunctive relief in any other form, a

 plaintiff must establish “(1) a substantial likelihood of prevailing on the merits; (2) irreparable

 harm unless the injunction is issued; (3) that the threatened injury outweighs the harm that the

 preliminary injunction may cause the opposing party; and (4) that the injunction, if issued, will

 not adversely affect the public interest.” Diné Citizens Against Ruining Our Environment v.

 Jewell, 839 F.3d 1276, 1281 (10th Cir. 2016) (quotation omitted). The final two requirements

 merge when the government is the opposing party. See Nken v. Holder, 556 U.S. 418, 435
Case 1:21-cv-02228-RM-STV Document 12 Filed 09/01/21 USDC Colorado Page 2 of 6




 (2009). A TRO is an extraordinary remedy, and therefore the plaintiff must demonstrate a right

 to relief that is clear and unequivocal. Schrier v. Univ. of Colo., 427 F.3d 1253, 1258 (10th Cir.

 2005). The fundamental purpose of preliminary injunctive relief is to preserve the relative

 positions of the parties until a trial on the merits can be held. Id. A TRO may issue without

 notice to the opposing party, but its duration is limited to fourteen days. See Fed. R. Civ. P.

 65(b)(1)-(2).

 II.    BACKGROUND

        Plaintiffs, two members of two branches of the military on active duty in North Carolina

 when the Verified Complaint was filed, allege that they represent a class of more than 200,000

 U.S. servicemembers “who can document that they have already been infected with COVID-19,

 recovered from it, and thereby acquired natural immunity from the virus.” (ECF No. 7 at 2.)

 They seek a declaratory judgment that the Department of Defense “cannot force them to take a

 COVID-19 vaccination under existing military regulations, federal regulations, federal law, and

 the U.S. Constitution.” (ECF No. 1 at 1). They bring this lawsuit on behalf of themselves and a

 class of similarly situated members of the military, which “consists of (at least) active duty and

 reserve component members of the United States Armed Forces and National Guard members

 who have already caught and recovered from COVID-19, documented and reported it to

 superiors and have been or will be ordered to take any COVID-19 vaccine.” (Id. at 3, ¶ 7.)

        Apparently prompted by a public memo from Defendant Austin, stating that he would be

 seeking authorization from the President to mandate vaccines for servicemembers, Plaintiffs filed

 their lawsuit on August 17, 2021. (See id. at 2.) In addition to the class action allegations, the

 Verified Complaint asserts claims for (1) violation of the Administrative Procedure Act,


                                                   2
Case 1:21-cv-02228-RM-STV Document 12 Filed 09/01/21 USDC Colorado Page 3 of 6




 (2) violation of 10 U.S.C. § 1107, (3) violation of 10 U.S.C. § 1107a, and (4) violation of

 50 U.S.C. § 1520.

        In their Motion, filed on August 30, 2021, Plaintiffs assert they “are staring at a mandate

 that began last Thursday” and that “they will suffer immediate physical harm by being forced to

 take a vaccine for a virus to which they already have immunity.” (ECF No. 7 at 3.)

 III.   ANALYSIS

        Assuming for present purposes that Plaintiffs have standing and that at least one of their

 claims is justiciable, the Court finds they have failed to establish a clear and unequivocal right to

 a TRO as the matter now stands. Although the Motion touches on the TRO requirements, it does

 not explicitly address each of them. The Court does so now.

        A.      Substantial Likelihood of Success on the Merits

        In arguing that they are likely to prevail on obtaining a permanent injunction and a

 declaratory judgment, Plaintiffs rely on Army Regulation 40-562, ¶ 2-6a.(1)(b), which provides

 for medical exemption from immunization based on “[e]vidence of immunity based on . . .

 documented infection.” But the limited factual allegations presented in the Verified Complaint

 preclude the Court from finding that Plaintiffs can establish that whatever “natural immunity”

 they have acquired through contracting and surviving COVID-19 constitutes adequate “evidence

 of immunity” for purposes of that regulation or parallel ones governing different branches of the

 military.

        In their Motion, Plaintiffs cite a snippet from an interview with an official from the

 Department of Human Health and Services, who is on record stating that there is no evidence

 vaccine immunity is better than natural immunity and that he believes both are highly protective.


                                                   3
Case 1:21-cv-02228-RM-STV Document 12 Filed 09/01/21 USDC Colorado Page 4 of 6




 (ECF No. 7 at 4, ¶ 7.) And there is an affidavit by Dr. Peter McCullough, stating his opinion that

 “people who have the naturally created antibodies resulting from contracting and recovering

 from the Virus” should not be vaccinated because “it will do more harm than good.” (ECF

 No. 1-1 at 6.) Plaintiffs also cite a handful of studies questioning whether previously infected

 individuals need to be vaccinated.

           But Plaintiffs ignore all contrary opinion evidence, including obviously relevant guidance

 from the Centers for Disease Control and Prevention (“CDC”) recommending vaccination

 regardless of whether a person has already had COVID-19 because research has not yet shown

 people are protected once they recover from the virus. See Frequently Asked Questions about

 COVID-19 Vaccination, CDC Website, https://www.cdc.gov/coronavirus/2019-

 ncov/vaccines/faq.html (last visited Sept. 1, 2021). The Court is not compelled to view

 Plaintiffs’ evidence in a vacuum or an echo chamber. As a result, the evidence cited by Plaintiffs

 coupled with their unsubstantiated insistence on their own natural immunity is insufficient to

 establish a clear and unequivocal right to a TRO under the circumstances of this case.

           Moreover, to the extent that Plaintiffs contend they have been or will be subjected to

 unfair discipline for refusing a vaccine, the allegations in the Verified Complaint fall woefully

 short of providing this Court with enough information to determine whether any actual discipline

 has occurred or is likely to occur or to assess the appropriateness of measures such as segregating

 vaccinated and unvaccinated servicemembers at military dining facilities. (See ECF No. 1 at 11,

 ¶ 34.) For current purposes, the Court concludes merely that based on the current record,

 Plaintiffs have not established that they are substantially likely to prevail on the merits in this

 matter.


                                                    4
Case 1:21-cv-02228-RM-STV Document 12 Filed 09/01/21 USDC Colorado Page 5 of 6




        B.      Irreparable Harm

        Plaintiffs also fail to establish that they will suffer irreparable harm if required to take a

 vaccine. As discussed above, Plaintiffs’ contention that they may be subject to discipline for

 refusing to take a vaccine appears to be based on nothing more than speculation at this point.

 Their contention that they will be uniquely harmed from vaccines that, according to the CDC,

 more than 200 million people had received by the time Plaintiffs’ Motion was filed, is specious.

 Moreover, as is now common knowledge, the Food and Drug Administration has now fully

 approved a COVID-19 vaccine, likely rendering moot Plaintiffs’ underdeveloped arguments

 concerning the emergency use authorization for the vaccines currently available. Plaintiffs have

 not shown that they are likely to establish that any COVID-19 vaccine is an “investigational new

 drug” or “unapproved for its intended use,” so comparisons between their circumstances and

 servicemembers required to participate in the Anthrax Vaccine Immunization Program are inapt.

 Cf. Doe v. Rumsfeld, 297 F. Supp. 2d 119, 135 (D.D.C. 2003) (granting preliminary injunction

 where servicemembers and others were required to submit to an inoculation of an investigational

 drug under 10 U.S.C. § 1107). Accordingly, Plaintiffs have not established that they will be

 irreparably harmed if a TRO is not issued.

        C.      Balance of Harms/Public Interest

        Although Plaintiffs do not address this requirement directly, they argue that granting a

 TRO will not cause harm to Defendants because it would merely preserve “the status quo ante

 up until this past Thursday.” (ECF No. 7 at 5, ¶ 8.) As alluded to elsewhere in this Order,

 Plaintiffs have been less than clear about what they allege has happened and what they allege

 might happen. Nonetheless, in the midst of global pandemic in which national cases continue to


                                                   5
Case 1:21-cv-02228-RM-STV Document 12 Filed 09/01/21 USDC Colorado Page 6 of 6




 mount, the Court finds the public interest is advanced by applying scientific principles to get new

 cases under control. In addition, the public interest in the nation’s military readiness may well be

 served by allowing military officials who are familiar with the unique challenges posed by the

 COVID-19 pandemic in a military setting to manage those challenges without this Court’s

 intervention. See Doe, 297 F. Supp. 2d at 126 (“Courts have traditionally been hesitant to

 intervene in the conduct of military affairs.”). It suffices for current purposes to conclude that

 Plaintiffs have not carried their burden of establishing that allowing members of the military who

 have had COVID-19 to abstain from taking a vaccine if they wish to do so is in the public

 interest.

 IV.     CONCLUSION

         Accordingly, the Court finds the requirements for a TRO are not satisfied and DENIES

 Plaintiffs’ Motion (ECF No. 7).

         DATED this 1st day of September, 2021.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       United States District Judge




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